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     Relator
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 8                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                OAKLAND DIVISION
10                                         )   Case No.: C 10-04089 SBA
     UNITED STATES ex rel.                 )
11                                         )
            Kenneth C. Brooks,             )
12                                         )   [PROPOSED] ORDER GRANTING
                  Relator,                 )   RELATOR’S EX PARTE REQUEST TO
13                                         )   ENLARGE TIME SET FORTH IN THE
           vs.                             )   EXISTING CASE MANAGEMENT
14                                         )   CONFERENCE AND ADR DEADLINES
                                           )
15   Proctor & Gamble                      )   Judge: Honorable Saundra B.
     Manufacturing Company,                )   Armstrong
16                                         )
                  Defendant.               )
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           Having considered Relator’s request to enlarge time and the
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     Declaration of Kenneth C. Brooks and supporting documents in
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     support thereof, the Court finds that the request should be
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     granted for the reasons stated in Relator’s Request.
21
           NOW, THEREFORE, IT IS HEREBY ORDERED THAT Relator’s request
22
     to enlarge time set forth in the Order Setting Initial Case
23
     Management Conference and ADR Deadlines (Dkt. 2) (“CMC Order”)
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     by sixty (60) days is GRANTED. The deadlines in the CMC Order
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     shall be extended by sixty (60) days, with the exception of the
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     deadline for filing a joint Case Management Conference
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     [PROPOSED] ORDERD GRANTING RELATOR’S EX PARTE APPLICATION TO ENLARGE TIME IN THE
     EXISTING CASE MANAGEMENT CONFERENCE AND ADR DEADLINES
              Case 4:10-cv-04089-SBA Document 7 Filed 12/28/10 Page 2 of 4




 1   Statement, which is set forth in this Order.                 The January 6,
 2   2011 case management conference is CONTINUED to April 21, 2011
 3   at 2:45 p.m. The parties shall meet and confer prior to the
 4   conference and shall prepare a joint Case Management Conference
 5   Statement which shall be filed no later than ten (10) days prior
 6   to the Case Management Conference that complies with the
 7   Standing Order for All Judges of the Northern District of
 8   California and the Standing Order of this Court.                  Plaintiff
 9   shall be responsible for filing the statement as well as for
10   arranging the conference call.            All parties shall be on the line
11   and shall call (510) 637-3559 at the above indicated date and
12   time.

13           IT IS SO ORDERED.
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     Dated: December 28, 2010
                                                   ______________________________
16                                                   SAUNDRA BROWN ARMSTRONG
                                                     United States District Judge
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     [PROPOSED] ORDERD GRANTING RELATOR’S EX PARTE APPLICATION TO ENLARGE TIME IN THE
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              Case 4:10-cv-04089-SBA Document 7 Filed 12/28/10 Page 3 of 4




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     [PROPOSED] ORDERD GRANTING RELATOR’S EX PARTE APPLICATION TO ENLARGE TIME IN THE
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     Case 4:10-cv-04089-SBA Document 7 Filed 12/28/10 Page 4 of 4




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